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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


IN RE DOMESTIC AIRLINE TRAVEL                       MDL Docket No. 2656
ANTITRUST LITIGATION                                Misc. No. 15-1404 (CKK)


This Document Relates To:

ALL CASES.


                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of March 13, 2019, the parties submit the following

status report regarding pending motions and the status of discovery in advance of the August 7,

2019 Status Conference.

I.     DISCOVERY STATUS AND UPDATES

       Since the last status conference, the period for fact discovery has closed, as of July 31,

2019. During that period, Plaintiffs deposed six Delta fact witnesses and five Delta Rule 30(b)(6)

witnesses, and ten United fact witnesses and five additional United Rule 30(b)(6) witnesses. The

non-settling Defendants deposed two fact and Rule 30(b)(6) witnesses of the entity Plaintiffs, in

addition to the eight depositions of the individual named Plaintiffs conducted between last October

and February. Plaintiffs and the non-settling Defendants deposed eight third parties.

       On June 13, 2019, the Court granted a motion to extend the fact deposition deadline for

purposes of taking the depositions of witnesses of the settling Defendants, from June 15 to July

15, 2019. ECF No. 393. No depositions of the settling Defendants occurred.

       Two discovery motions are fully briefed and pending before the Special Master. In

addition, certain discovery responses were served on July 31, 2019. These issues are more fully

summarized below:


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       A.      Plaintiffs’ Discovery of United

               1.      United’s 30(b)(6) Deposition and Documents Pertaining Thereto

       As part of the parties’ agreement on the scope of Plaintiffs’ March 29, 2019 30(b)(6) notice

of deposition of United, reached in early May, United agreed to provide a written response

regarding its international alliances with other airlines and to consider, based on its document-by-

document review, stipulating to the authenticity and admissibility of documents to be identified by

Plaintiffs related to specific 30(b)(6) topics. On June 28, Plaintiffs provided to United a list of

documents for which they are seeking such a stipulation pursuant to that agreement. United

provided its responses concerning both issues on July 31. Plaintiffs are reviewing those responses.

               2.      Requests for Admission

       On July 1, 2019, Plaintiffs served Requests for Admission on United (and Delta, see infra)

requesting admissions as to authentication and admissibility of over 1,900 documents. United

responded on July 31. Plaintiffs are reviewing that response.

               3.      Plaintiffs’ Motion To Compel Regarding United’s Privilege Log

       On November 19, 2018, Plaintiffs submitted to the Special Master their Motion to Compel

United Airlines, Inc. to Produce or Un-Redact Certain Documents from Its Core Production

Privilege Log, which was fully briefed on January 7, 2019. The parties now await a Report and

Recommendation from the Special Master regarding the motion.

       B.      Plaintiffs’ Discovery of Delta

               1.      Delta’s 30(b)(6) Deposition and Documents Pertaining Thereto

       As part of the parties’ agreement on the scope of the 30(b)(6) deposition of Delta, it agreed

to consider stipulating that certain documents to be identified by Plaintiffs are business records

and to provide a written declaration concerning its international alliances and joint ventures with




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other airlines in exchange for Plaintiffs’ withdrawal of certain topics from their Amended Second

Notice of Rule 30(b)(6) deposition to Delta. On June 29, Plaintiffs provided to Delta a list of

documents for which they are seeking such a stipulation pursuant to that agreement. Delta

provided the declaration on May 24 and provided its response to the proposed stipulation on July

31. Plaintiffs are reviewing that response.

               2.     Plaintiffs’ Motion to Compel Delta to Produce Certain Data

       On June 17, following Plaintiffs’ Rule 30(b)(6) Deposition of United, Plaintiffs moved to

compel Delta to produce certain data. The motion was fully briefed on June 20. On July 2, the

Special Master heard argument on Plaintiffs’ Motion to Compel. Thereafter, the parties agreed to

Plaintiffs’ proposal that they withdraw a portion of their motion that related to customer payment

information in exchange for Delta’s agreement that Plaintiffs may renew that motion at a later date

pending review of Defendants’ arguments at summary judgment or class certification. The parties

now await a Report and Recommendation from the Special Master regarding the remaining

portions of the motion.

               3.     Requests for Admission

       As noted above, on July 1, 2019, Plaintiffs served Requests for Admission on Delta

requesting admissions as to authentication and admissibility of over 1,500 documents produced by

Delta. Delta responded on July 31. Plaintiffs are reviewing that response.

       C.      Defendants’ Discovery of Plaintiffs

       On July 5, the Special Master issued an Amended Report & Recommendation No. 8

(“R&R No. 8”) relating to the sufficiency of Plaintiffs’ answers to certain of Defendants’

contention interrogatories, which the Court adopted on July 19. ECF No. 405. Plaintiffs filed an

uncontested motion to extend the deadline for Plaintiffs’ supplemental responses to July 31,




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subject to an extension of the deadline to pursue any further motion to compel, if any, related to

Plaintiffs’ supplemental responses. The Court granted the motion on July 17. Plaintiffs served

their supplemental responses on July 31, which Defendants are reviewing.

II.    APPEAL OF THE COURT’S FINAL APPROVAL

       On May 9, 2019, Your Honor issued the Order Granting Plaintiffs’ Motion For Final

Approval of Settlement Agreements with Southwest Airlines Co. and American Airlines, Inc.

(May 9, 2019) (“Final Approval Order”). ECF No. 373.

       On June 10, 2019, Objectors Theodore H. Frank, Frank Bednarz, Stephan Willett, and

Michael Argie filed their notices of appeal of that Order. ECF Nos. 384, 385, 389. Subsequently,

Messrs. Willett and Argie voluntarily dismissed their appeals and the D.C. Circuit has dismissed

those appeals. The only appeal that remains pending, therefore, is the appeal of Messrs. Frank and

Bednarz.

III.   COUNSEL ATTENDING THE AUGUST 7, 2019 STATUS CONFERENCE

       The following list contains the names of counsel who will be appearing at the August 7,

2019 Status Conference:

       1. Plaintiffs:                Michael Hausfeld, Adam Zapala, Hilary Scherrer, Jeannine
                                     Kenney, Seth Gassman, Molly Kenney and Alex Barnett

       2. Delta Air Lines:           James Denvir, Michael Mitchell, Rory Skaggs

       3. United Airlines:           Kent Gardiner, Luke van Houwelingen

       4. Southwest Airlines:        David Smith

       5. American Airlines:         Unconfirmed at time of filing




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Dated: August 1, 2019                        Respectfully submitted,
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